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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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MARIA MIRANDA, : 2Zicv?14 {DLC}
Plaintiff, ; ORDER

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CITY OF NEW YORK and NEW YORK CITY

FIRE DEPARTMENT,
Defendants. :

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DENISE COTE, District Judge:

On June 28, 2021, the defendants filed a motion to dismiss
the complaint. Under Rule 15(a) (1) (B), Fed. R. Civ. P., a
plaintiff has 21 days after the service of a motion under Rule
12(b) to amend the complaint once as a matter of course.
Accordingly, it is hereby

ORDERED that the plaintiff shall file any amended complaint
by July 20, 2021. It is unlikely that the plaintiff will have a
further opportunity to amend.

IT TS FURTHER ORDERED that if no amended complaint is

filed, the plaintiff shall file any opposition to the motion to
dismiss by July 20, 2021. Any reply is due August 3, 2021.

Dated: New York, New York
June 29, 2021

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DENISE COTE
United States District Judge

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